Case 2:18-Cr-00025-DLC Document 2 Filed 10/29/18 Page 1 of 14

FlLED

W. ADAM DUERK U[.`]' 29 2018
Assistant U.S. Attorney mem u n

U.S. Attorney’s Ofi`lce 01§¢,1,_;,80'§’£:;“"$ com
P.0. Box 8329 Mfssou:a a""*

Missoula, MT 59807

105 E. Pine Street

Missoula, Montana 59802

Phone: (406) 542-8851

FAX: (406) 542-1476

E-mail: Adam.l)uerk@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF` AMERICA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF M()NTANA
BUTTE DIVISION

 

UNlTEl) STATES 0F AMERICA, CR - |?,,7,§-[@\/_» \>L- C/

Plaintiff, PLEA AGREEMENT

vs.
ANN BENNETT HERMANSON,

Dcl`endant.

 

 

Pursuant to Rule l l of the Federal Rules of Criminal Procedure, the United
States of`America, represented by W. Adam Duerk, Assistant United States
Atterney for the District of Montana, and the defendant, Arm Bennett Hermanson,

and l'he defendant’S attorney Ash!ey Whipple, have agreed upon the following

gee 59% jj aim/15

AUSA DEF A'FPY D£re Pagel

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 2 of 14

I. Scope: This plea agreement is between the United States Attorney’s
Offlce for the District of Montana and the defendant. lt does not bind any other
federal, state1 or local prosecuting administrative, or regulatory authority, or the
United States Probation Offlce.

2. Charges: The defendant agrees to plead guilty to the information,
which charges Wire Fraud in violation of 18 U.S.C. § 1343. This offense carries a
maximum term of imprisonment of 20 years, a SZS0,000 fine, three years of
supervised release, and a $ l 00 special assessment

Restitution: The defendant understands that restitution to the victims of the
crime charged in the information is mandatory and agrees to be responsible for
complete restitution, notwithstanding the agreement of the United States not to
pursue additional charges related to the defendant’s scheme. 18 U.S.C.

§§ 3663A(a)(l ), (c)(2). Specit`lcally, the defendant agrees to pay $501,975.50 in
restitution to the persons and companies who suffered losses as a result of the
defendant’s conduct Set forth in the information

3. Nature of the Agreement: The parties agree that this plea agreement
will be governed by Rule l l(c)( l )(A) and (B), Federal Rules ofCriminal
Procedure. The defendant acknowledges that the agreement will be fulfilled
provided the United States: a) does not pursue other charges against the defendant;

and b) makes the recommendations provided below. The defendant understands

m rata ~ /ol?s rt

AUSA DEF A‘r‘tv nine Paoez

D

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 3 of 14

that if the agreement is accepted by the Court, and no additional charges are filed,
there will not be an automatic right to withdraw the plea even if the Court does not
accept or follow the recommendations made by the United States.

4. Admission of Guilt: The defendant will plead guilty because the
defendant is guilty of the charge contained in the information. In pleading guilty,
the defendant acknowledges that:

First_, the defendant knowingly devised a Scheme or plan to defraud, or a
scheme or plan for obtaining money or property by means of false or fraudulent
pretenses. representations, or promises;

Second, the statements made or facts omitted as part of the Scherne were
material; that is, they had a natural tendency to influence. or were capable of
influencing a person to part with money or property;

Third, the defendant acted with the intent to defraud_._ that is, the intent to
deceive or cheat; and

Fourth, the defendant used, or caused to be used, a wire communication to

carry out or attempt to carry out an essential part of the scheme.

5. Waiver of Rights by Plea:
(a) The defendant is entitled to have the charge outlined in

paragraph 2, above, prosecuted by an indictment returned by a concurrence of 12

  

jai

AUSA DEF

 

Page 3

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 4 of 14

or more members ofa legally constituted grand jury, consisting of not less than l6
and not more than 23 members

(b) The government has a right to use against the defendant, in a
prosecution for perjury or false statement, any statement given under oath during
the plea colloquy.

(c) The defendant has the right to plead not guilty or to persist in a
plea of not guilty.

(d) The defendant has the right to ajury trial unless, by written
waiver, the defendant consents to a non-july trial. The United States must also
consent and the Court must approve a non-jury trial.

(e) The defendant has the right to be represented by counsel and, if
necessary, have the Court appoint counsel at trial and at every other Stage of these
proceedings

(f) Ifthe trial is ajury trial, thejury would be composed of 12
laypersons selected at random. The defendant and the defendant’s attorney would
have a say in who the jurors would be by removing prospective jurors for cause
where actual bias or other disqualification is shown, or without cause by exercising
peremptory challenges The jury would have to agree unanimously before it could
return a verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict unless, after hearing

“f/)/ §§ rail 112/2515

AUSA DEF A'aa*v `Diatei Page.t

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 5 of 14

all the evidence, it was persuaded of the defendant’s guilt beyond a reasonable
doubt

(g) Ifthe trial is held by thejudge without ajury, the judge would
find the facts and determine, after hearing all of the evidence, whether or not the
judge was persuaded of the defendant’s guilt beyond a reasonable doubt.

(h) At a tria|, whether by ajury or ajudge, the United States would
be required to present its witnesses and other evidence against the defendant The
defendant would be able to confront those government witnesses and the
defendant’s attorney would be able to cross-examine them. ln turn, the defendant
could present witnesses and other evidence. Ifthe witnesses for the defendant
would not appear voluntarily` their appearance could be mandated through the
subpoena power of the Court.

(i) At a trial, there is a privilege against self-incrimination so that
the defendant could decline to testify and no inference of guilt could be drawn
from the refusal to testify. Or the defendant could exercise the choice to testify.

(j) If convicted, and within 14 days of the entry of the judgment
and Commitment, the defendant would have the right to appeal the conviction to
the Ninth Circuit Court of Appeals for review to determine if any errors were made

that would entitle the defendant to reversal of the conviction.

_&" 1 pa

AUSA DEF A ate Page$

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 6 of 14

(k) The defendant has a right to have the district court conduct the
change of plea hearing required by Rule li, Federa| Rules ofCriminal Procedure.
By execution of this agreement._ the defendant waives that right and agrees to hold
that hearing before, and allow the Rule l l colloquy to be conducted by, the U.S.
Magistrate Judge, if necessary.

(l) If convicted in this matter_. a defendant who is not a citizen of
the United States may be removed from the United States, denied citizenship, and
denied admission to the United States in the 'l"uture.

The defendant understands that by pleading guilty pursuant to this
agreement._ the defendant is waiving all ofthe rights set forth in this paragraph
The defendant"s attorney has explained those rights and the consequences of
waiving those ri ghts.

6. Recommendations: The parties jointly recommend that the
probation office utilize a loss amount of $501,875.50 when calculating the
advisory Guideline range in this case.

In exchange for the defendant’s guilty plea, the United States will
recommend the defendant’s offense level be decreased by two levels for
acceptance ofresponsibility, pursuant to USSG §BEI . l (a), unless the defendant is
found to have obstructed justice prior to sentencing, pursuant to USSG §3Cl .l, or

acted in any way inconsistent with acceptance of responsibility The United States

Fau»i*d§§’ij

AUSA DE Page 6

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 7 of 14

will move for an additional one-level reduction, pursuant to USSG §3El.l(b), if
appropriate under the Guidelines. The parties reserve the right to make any other
arguments at the time ofsentencing. The defendant understands that the Court is
not bound by this recommendation.

7. Sentencing Guidelines: Although advisory, the parties agree that the
U.S. Sentencing Guidelines must be applied, and a calculation determined, as part
of the protocol of sentencing to determine what sentence will be reasonable

8. Appeal Waivers:

rr. Waiver oprperrf dfr/te Senrence - Condr`ri`o)m!: The defendant

understands that the law provides a right to appeal and collaterally attack the
sentence imposed in this case. 18 U.S.C. _§` 3742(a); 28 U.S.C. §§ 2241_. 2255. The
prosecution has a comparable right of appeal. 18 U.S.C. § 3742(b). By this
agreement the defendant waives the right to appeal or collaterally attack any aspect
of the sentence, including conditions of probation or supervised release, ifthe
sentence imposed is within or below the guideline range calculated by the Court,
regardless of whether the defendant agrees with that range. This waiver includes
challenges to the constitutionality of any statute of conviction and arguments that
the admitted conduct does not fall within any statute ofconviction. This waiver
does not prohibit the right to pursue a collateral challenge alleging ineffective

assistance of counsel. The United States waives its right to appeal any aspect of

'7,’4-~ DW Tl ibj?!bj/D
AUsA DEF Att:dv bare Page?

 

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 8 of 14

the sentence if the sentence imposed is within or above the guideline range
calculated by the Couit.

b. Waive)' r)prpea! oftth Senrence ~ 5K motion: The defendant
understands that the law provides a right to appeal and collaterally attack the
sentence imposed in this case. 13 U.S.C. § 3742(a); 28 U.S.C. §§ 2241, 2255.
Under appropriate circumstances, the United States may move, but has not made
any commitment as part of this agreement to move, for a reduction of sentence
pursuant to USSG §SKl.l to reward the defendant for any substantial assistance
provided before sentencing If such a motion is made and the Court accepts the
plea agreement, the defendant waives all right to appeal or collaterally attack any
aspect of the sentence, including conditions of probation or supervised release.
This waiver includes challenges to the constitutionality of any statute of conviction
and arguments that the admitted conduct does not fall within any statute of
conviction. This waiver does not prohibit the right to pursue an action alleging
ineffective assistance of counsel.

The United States emphasizes, and the defendant again acknowledges, that
no such motion is bargained for in this agreement No commitment to make such a
motion has been made as part of the plea agreement_, and the defendant has been
made specifically aware that Department of J ustice policy does not authorize any

individual prosecutor to file such a motion or make such a commitment without

;H: ftca a re
AUSA DEF A ate PageS

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 9 of 14

express written approval of the U.S. Attorney or a Comrnittee of other prosecutors
designated and empowered by the U.S. Attorney to approve such a motion.
USAM 9-2'7.400.

c. War`t.=er and Dr'smissa! of A ppen/ ofthe Sentence - Rtr!e 3 5
lttotr`oit: The defendant understands that the law provides a right to appeal and
collaterally attack the sentence imposed in this case. 18 U.S.C. § 3742(a); 28
U.S.C. §§ 2241, 2255. Under appropriate circumstances, the United States may
move, but has not made any commitment as part of this agreement tc move, for a
reduction of sentence pursuant to Rule 35_. Federal Rules of Criminal Procedure, to
reward the defendant for any substantial assistance the defendant provides after
sentencing If such a motion is made, and granted by the Court, the defendant
agrees to waive any appeal or collateral attack of the sentence and judgment
imposed, and dismiss any pending appeal of the judgment and sentence previously
taken. This waiver includes challenges to the constitutionality of any statute of
conviction and arguments that the admitted conduct does not fall within any statute
of conviction. This waiver does not prohibit the right to pursue an action alleging
ineffective assistance of counsel.

The United States emphasizes, and the defendant again acknowledges, that
no such motion is bargained for in this agreement No commitment to make such a

motion has been made as part of the plea agreement, and the defendant has been

N: , _"\l f /6
AUSA DEF A Da'[€ Pag€ 9

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 10 of 14

made specifically aware that Department of Justice policy does not authorize any
individual prosecutor to make such a commitment without express written
approval of the U.S. Attorney, or a Committee of other prosecutors designated and
empowered by the U.S. Attorney to approve such a motion. USAl\/l 9-27.400.

9. Potential Departure for Substantial Assistance: The defendant
maintains that she can provide substantial assistance to the United States that
would make her eligible to receive consideration from the prosecution in the form
ofa substantial assistance departure motion under USSG § SKl.l and/or Rule 35,
Federal Rules ofCrimina| Procedure.

Ob!r'gr:tir)n.s' c)_f`!he Deferrdam: Substantial assistance means, for the purposes
of this agreement._ that the defendant agrees to:

- provide complete, truthful, forthright, material, important, valuable
and meaningful information to the best of her knowledge and belief
bearing on any subject inquired of her by the Court, the United States
Attorney’s Office, the Grand Jury, or any Federal, State, or local

investigative agency, and

¢ provide complete, truthfu|, and forthright testimony it`called upon in
any proceeding before a Court or Grand Jury.

The defendant understands that providing materially false information or
withholding material information may result in further criminal action for fraud,
false statements, obstruction of justice or perjury.

Ob/:`gmions Qf`!/te United States: If the defendant chooses to provide

assistance, the prosecution agrees that the information provided will not be used

'a_r nasa ,z n 15
AusA DEF AT'|*Y bare Pageia

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 11 of 14

against the defendant in any criminal proceeding, including at her own sentencing
The United States will consider and evaluate any written proffer or nature of the
information and the recommendations of law enforcement lf the prosecution
concludes that the assistance provided is substantial, truthful and complete, as
required, a departure motion determined by the government to be appropriate
under the circumstances will be made. By this agreement the defendant is not
offered or promised that a departure motion, or any specific type of motion,
Will be filed by the government

Acknoivledgntems: The defendant acknowledges that if she commits any
local._ state, or federal crime (other than at the direction of law enforcement in
furtherance of an investigation) that diminishes the defendant"s credibility or
effectiveness as a witness, the United States may_. in the prosecutor"s discretion,
refuse to flle any departure motion even though the defendant may have also
provided assistance that is otherwise considered substantial The defendant
acknowledges that no promise has been made and accepts this agreement aware
that no such motion will be filed if the government determines that the information
is either untruthful, willfully incomplete, oflittle value_, or insubstantial

Recommeitdat‘ions: lf the government makes a motion for reduction of
sentence, the defendant understands that the government will also make a
recommendation to the Court about the extent of the departure Although the

A~- mag m /t\rz’s?rg

r

AUsA DEF Arr’v care rage 11

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 12 of 14

Court is required to impose any applicable statutorily required penalties, the parties
understand that the Court is not bound by the recommendations of either party.

10. Vo|untary Plea: The defendant and the defendant`s attorney
acknowledge that no threats, promises, or representations have been made to
induce the defendant to plead guilty, and that this agreement is freely and
voluntari ly endorsed by the parties

l l. Detcntion/Release After Plea: The United States agrees that it will
not move for detention, but will defer to the discretion of the Court the decision as
to whether the defendant meets the conditions of 18 U.S.C. § 3143(a)(l) or (2), and
whether the defendant has clearly shown exceptional reasons why detention is not
appropriate 18 U.S.C. § 3145(c). The United States is obligated to advise the
Court ofthe appropriate legal standards that relate to the defendant’s eligibility for
post-conviction release. The defendant acknowledges that obligation and
understands that advising the Court as to the law and facts is not an abrogation of
its agreement not to request remand.

12. Disc|osure of Financial Information: The defendant authorizes the
U.S. Probation Office to release to the Financial Litigation Unit ofthe U.S.
Attorney"s Office all documents and financial information provided by the
defendant to the U.S. Probation Offlce and any information obtained by the U.S.
Probation Office about the defendant through its investigation 'l`he defendant

17'#~ ZE§ m fitz/zip

{

AusA DEF A‘it‘rv patel Pageiz

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 13 of 14

further agrees to fully complete a financial statement in the form prescribed by the
U.S. Attomey`s Office. provide financial documents as requested, and submit to a
debtor"s exam if deemed appropriate by the U.S. Attorney’s Office, in order to
evaluate the defendant’s ability to satisfy any financial obligation imposed by the
Court. The defendant consents to being immediately placed on the Treasury Offset
Program to help meet the defendant"s obligation to pay restitution and/or a fine.

13. Breach: lf the defendant breaches the terms ofthis agreement or
commits any new criminal offenses between signing this agreement and
sentencing, the U.S. Attorney"s Office is relieved ofits obligations under this
agreement but the defendant may not withdraw the guilty plea.

14. Entire Agrcement: Any statements or representations made by the
United States, the defendant or defense counsel prior to the full execution of this
plea agreement are superseded by this plea agreement No promises or
representations have been made by the United States except as set forth in writing
in this plea agreement This plea agreement constitutes the entire agreement
between the parties Any term or condition which is not expressly stated as part of
this plea agreement is not to be considered part of the agreement
///

///

///

75'1~*'* Z§`f< dgt‘ils lt F'Z"i/Y’

AusA DEF Af‘fv D*'are' Pageis

Case 2:18-cr-OOO25-DLC Document 2 Filed 10/29/18 Page 14 of 14

KURT G. ALME
United States Attorney

j?.,¢ra LM raw
w.AoAt&iijuERi<
Assistant_U. S. Attorney

Date: [![Zj /l§

dan L§~l/i/@* mma/ward
ANN BENNETT HERMANSON
Defendant

Date:

/§€//a uiTl{AML,/`

SLH’LEY HI PLE
DefenseC
Date:

AUSA DEF A ate Page14

